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                             UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION


   IN RE:                                                  CASE NO.: 18-30888-HCM-7

   GUILLERMO PALLARES                                      CHAPTER: 7
   aka GUILLERMO VENEGAS-
   PALLARES
   aka GUILLERMO V. PALLARES
   and CARMEN C. PALLARES
   aka CARMEN CASTRUITA
   PALLARES

               Debtors.
   __________________________/

   RESPONSE TO TRUSTEE’S MOTION TO SELL PROPERTY FREE AND CLEAR OF
        LIENS AND INTERESTS [DE 29] FILED BY BANK OF AMERICA, N.A.

          COMES NOW, BANK OF AMERICA, N.A. (“Creditor”), and submits this Response to
   the Trustee’s Motion to Sell Property Free and Clear of Liens and Interests [DE 29] and states
   as follows:
          1.      Creditor is a mortgagee for loans on two properties owned by Debtors, listed as
   8524 Wingo Way, El Paso, Texas 79907 and 8520 Wingo Way, El Paso, Texas 79907 in the
   corresponding Deeds of Trust securing Creditor’s interest to the properties.
          2.      On November 18, 2019, Trustee filed a Motion to Sell Property Free and Clear of
   Liens and Interests [DE 29] (the “Motion”) reflecting a proposed sale price of $135,000.00. The
   Trustee’s Motion includes a property address of 8820A Wingo Way, El Paso, Texas 79907,
   identified by the El Paso CAD as Property ID 35274, Geographic ID W14299900502100. The
   address listed in the Motion does not match the tax records or records held by Creditor, and thus,
   Creditor seeks clarification as to the Property to be sold in any order approving sale.
          3.      Creditor objects to any Order binding Creditor to accept any terms of a proposed
   sale prior to Creditor’s full independent review and acceptance of proposed sale contract.
          4.      Creditor should not be compelled to accept a sale that is not in Creditor’s best
   interest pursuant to Creditor’s business judgment.




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             5.     Creditor requests the loan be paid 100% in full, within forty-eight (48) hours of
   closing. Additionally, Creditor requests this Court enter an Order indicating the closing agent
   must have a payoff statement that is not expired at the time of the closing of the Subject
   Property.
             6.     A hearing has been scheduled for December 12, 2019 at 10:00 AM.
             7.     Creditor reserves the right to supplement and/or amend this Response in the
   future.


             WHEREFORE, Creditor respectfully requests the Court deny the Motion and for such other
   and further relief as the Court deems appropriate.




                                                                       Respectfully submitted,

                                                                       /s/ Megan F. Clontz
                                                                       Megan F Clontz
                                                                       Texas Bar No. 24069703
                                                                       Albertelli Law
                                                                       2201 W. Royal Ln., Ste. 155
                                                                       Irving, TX 75063
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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via
   electronic notice and/or by regular U.S. mail on November 27, 2019.
   SERVICE LIST

   Debtor
   Guillermo Pallares
   8520 Wingo Way
   El Paso, TX 79907

   Debtor
   Carmen C. Pallares
   8520 Wingo Way
   El Paso, TX 79907

   Edgar J. Borrego
   Tanzy & Borrego Law Offices
   2610 Montana Ave.
   El Paso, TX 79903

   Miguel Alejandro Flores
   Tanzy & Borrego Law Offices
   2610 Montana
   El Paso, TX 79903

   Trustee
   Ronald E Ingalls
   PO Box 2867
   Fredericksburg, TX 78624-1927

   United States Trustee - EP12
   U.S. Trustee's Office
   615 E. Houston, Suite 533
   P.O. Box 1539
   San Antonio, TX 78295-1539


                                                                    /s/ Megan F. Clontz
                                                                    Megan F Clontz




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